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                         EXHIBIT E
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     CASE NO. 9:19-cv-81160-RS

   APPLE INC.,
          Plaintiff,
   v.
   CORELLIUM, LLC,
          Defendant.




          APPLE INC.’S AMENDED AND SUPPLEMENTAL INITIAL DISCLOSURES
                         PURSUANT TO FED. R. CIV. P. 26(a)(1)

          Pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure, plaintiff Apple Inc.

   (“Apple”) submits the following amended and supplemental initial disclosures. These amended

   and supplemental initial disclosures are based upon the information reasonably available to

   Apple at this time. Apple reserves the right to remove from these disclosures any witness or

   category of documents based upon further investigation. Apple also reserves the right to make

   additional disclosures, including, but not limited to, the identification of witnesses or documents

   not identified herein, to reflect information subsequently acquired through its continuing

   investigation and discovery in this action. No incidental or implied admissions are intended by

   these disclosures. By making these disclosures, Apple does not represent that it is identifying

   every document, tangible thing, or witness possibly relevant to this case. Apple’s disclosures

   represent a good-faith effort to identify information it reasonably believes is relevant to the

   factual allegations in its Amended Complaint (ECF No. 56). Apple reserves the right to

   supplement or amend these disclosures if required, in accordance with Rule 26(e) of the Federal

   Rules of Civil Procedure.
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          These amended and supplemental initial disclosures are made subject to the reservation

   of all privileges. Apple’s amended and supplemental initial disclosures are made without in any

   way waiving: (1) the right to object to any discovery requests or to the admissibility of any

   evidence on the grounds of privilege, work product immunity, relevance, competency,

   materiality, hearsay, or any other proper ground in this or in any other action; (2) the right to

   object to the use of any such information, for any purpose, in whole or in part, in any subsequent

   proceeding in this action or in any other action; or (3) the right to object on any and all grounds

   to any discovery request or proceeding involving or relating to the subject matter of these

   disclosures in any proceeding in this action or in any other action.

          Apple construes the requirements of Rule 26(a)(1) of the Federal Rules of Civil

   Procedure not to require the production of any information or documents protected by the

   attorney-client privilege, the work product doctrine, or any other applicable privilege or

   protection from disclosure, or that constitute settlement communications regarding this matter.

   Apple intends to and does assert a privilege with respect to all such information and documents,

   and inadvertent disclosure thereof shall not constitute a waiver of any such privilege.

             I.   Individuals Likely to Have Discoverable Information – Rule 26(a)(1)(A)(i)

          Subject to and without waiving the limitations set forth above, Apple is presently aware

   of the following individuals who may have discoverable information that Apple may use to

   support its claims or defenses. Apple does not consent to or authorize any communications with

   Apple’s current or former employees or associates. All such communications must be made

   through Apple’s counsel of record.




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           Name                       Address               Potential Subject(s) of Knowledge
         Ivan Krstić        Contact via counsel for Apple        Security of Apple products;
                                                             disclosures and representations by
                                                                     Corellium employees
        Jon Andrews         Contact via counsel for Apple      Engineering and design of iOS
                                                               security; Apple’s copyrighted
                                                                    works; disclosures and
                                                                representations by Corellium
                                                                           employees
   Sebastien Marineau-Mes   Contact via counsel for Apple        Security of Apple products;
                                                             disclosures and representations by
                                                                     Corellium employees
      Akila Srinivasan      Contact via counsel for Apple     Apple Security Bounty Program
        Jason Shirk         Contact via counsel for Apple        Security of Apple products;
                                                             disclosures and representations by
                                                                Corellium employees; Apple
                                                                   Security Bounty Program
       Matthew Firlik       Contact via counsel for Apple          App Developer Program;
                                                                      Test Flight; Xcode
        Lee Peterson        Contact via counsel for Apple        Apple’s copyrighted works
       Dr. Jason Nieh       Contact via counsel for Apple   Expert testimony regarding Apple’s
                                                                  software; expert testimony
                                                              regarding Corellium’s software
     Dr. Michael Siegel     Contact via counsel for Apple   Expert testimony regarding the field
                                                                      of security research
      David Connelly        Contact via counsel for Apple        Expert testimony regarding
                                                                 damages due to Corellium’s
                                                             infringement of and trafficking in
                                                                       Apple’s products
        Chris Wade                Corellium, LLC              Corellium’s infringement of and
                              630 George Bush Blvd.           trafficking in Apple’s products;
                              Delray Beach, FL 33483         Corellium’s products; Corellium,
                                                                             LLC
      Amanda Gorton               Corellium, LLC              Corellium’s infringement of and
                              630 George Bush Blvd.           trafficking in Apple’s products;
                              Delray Beach, FL 33483         Corellium’s products; Corellium,
                                                                             LLC
        David Wang                Corellium, LLC              Corellium’s infringement of and
                              630 George Bush Blvd.           trafficking in Apple’s products;
                              Delray Beach, FL 33483         Corellium’s products; Corellium,
                                                                    LLC; Azimuth Security
    Stanislaw Skowronek           Corellium, LLC              Corellium’s infringement of and
                              630 George Bush Blvd.           trafficking in Apple’s products;
                              Delray Beach, FL 33483         Corellium’s products; Corellium,
                                                                             LLC
         Steve Dyer               Corellium, LLC              Corellium’s infringement of and


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            Name                           Address               Potential Subject(s) of Knowledge
                                    630 George Bush Blvd.          trafficking in Apple’s products;
                                    Delray Beach, FL 33483        Corellium’s products; Corellium,
                                                                                  LLC
       Mark Templeton              7 Driftwood Landing Rd         Corellium’s infringement of and
                                   Delray Beach, FL 33483          trafficking in Apple’s products;
                                                                  Corellium’s products; Corellium,
                                                                          LLC; Virtual LLC
         Mark Dowd                     Azimuth Security                    Corellium, LLC;
                                       Sydney, Australia                   Azimuth Security

          In addition to the individuals listed above, Apple incorporates by reference all other

   individuals referenced by Corellium in its initial disclosures pursuant to Rule 26(a)(1)(A)(i) of

   the Federal Rules of Civil Procedure. Apple reserves the right to offer testimony from such

   witnesses at trial or otherwise in this proceeding. Apple emphasizes that these disclosures are

   made pursuant to the information it has reasonably available to it now. Other individuals may

   have discoverable information, and the above individuals may have relevant information other

   than in the areas noted. Apple reserves the right to update these disclosures as new information

   becomes available through its investigation and through discovery.

           II.      Description of Discoverable Documents – Rule 26(a)(1)(A)(ii)

          Subject to and without waiving the limitations set forth above, and based on information

   reasonably available to Apple, Apple hereby provides the following descriptions, by category, of

   documents, electronically stored information, and tangible things that Apple has in its

   possession, custody, or control and may use to support its claims or defenses in this action. A

   description by category of documents within the scope of Rule 26(a)(1)(A)(ii) includes:

                 1. Documents relating to Apple’s ownership of copyrights in the works identified in

                    Exhibit A of the Amended Complaint (the “Apple Copyrighted Works”).

                 2. Documents relating to Apple’s uses and licenses of the Apple Copyrighted

                    Works.



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                3. Copyright registrations owned by Apple that relate to the Apple Copyrighted

                   Works.

                4. Documents relating to Corellium’s works that infringe Apple’s registered

                   copyrights in the Apple Copyrighted Works.

                5. Documents relating to Corellium’s willfulness in infringing the Apple

                   Copyrighted Works.

                6. Documents relating to Apple products, including, but not limited to, TestFlight

                   and XCode, whose market is or may be harmed by Corellium’s infringement.

                7. Correspondence between Apple and Corellium relating to the issues raised in this

                   action.

                8. Correspondence between Apple and Chris Wade relating to the issues raised in

                   this action.

                9. Documents relating to the Apple Security Bounty Program.

          Subject to the operative protective order (ECF No. 50), and to the extent the foregoing

   materials are not privileged, these documents, data compilations, and things have been or will be

   made available during discovery through Apple’s undersigned counsel. Apple makes these

   disclosures without waiver of any privileges, and production of these documents will not

   constitute a waiver of any objection or an admission that they are relevant or otherwise

   admissible in evidence. Apple reserves the right to supplement these disclosures as discovery

   continues.

          III.     Damages Computation – Rule 26(a)(1)(A)(iii)

          In addition to the nonmonetary relief sought in the Amended Complaint, Apple seeks

   Corellium’s profits attributable to the infringement pursuant to 17 U.S.C. § 504(b) and




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   Corellium’s profits attributable to the trafficking violation pursuant to 17 U.S.C.

   § 1203(c)(2). Alternatively, Apple seeks statutory damages for Corellium’s copyright

   infringement pursuant to 17 U.S.C. § 504(c) and statutory damages for Corellium’s trafficking

   violation pursuant to 17 U.S.C. § 1203(c)(3). Apple is not seeking to recover “the actual

   damages suffered by [Apple] as a result of the infringement” as defined by 17 U.S.C. § 504(b),

   or the “actual damages suffered by [Apple] as a result of the violation” as defined by 17 U.S.C.

   § 1203(c)(2).

          The precise amount of damages that Apple seeks to obtain in this case will depend on

   discovery, expert analysis, and expert testimony, which are ongoing. Apple reserves the right to

   supplement this response as appropriate.

          Further, Apple seeks its attorneys’ fees and costs for this case. Apple will not be able to

   compute its costs and attorneys’ fees until after the conclusion of discovery and will supplement

   its disclosures accordingly.

           IV.     Insurance Agreements – Rule 26(a)(1)(A)(iv)

          Apple is not aware, at this time, of any applicable insurance.




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   Dated: April 1, 2020                              Respectfully Submitted,


                                                     s/ Martin B. Goldberg

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                                  CERTIFICATE OF SERVICE

          I, Elana Nightingale Dawson, do hereby certify that on April 1, 2020, I caused a copy of

   the foregoing Apple Inc.’s Amended And Supplemental Initial Disclosures Pursuant To Fed. R.

   Civ. P. 26(A)(1) to be served via email upon:



   S. Jonathan Vine                                David L. Hecht
   Justin B. Levine                                Maxim Price
   Lizza C. Constantine                            Melody L. McGowin
   Michael Alexander Boehringer                    Minyao Wang
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                                                       s/ Elana Nightingale Dawson
                                                       Elana Nightingale Dawson




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